USDC IN/ND case 3:17-cv-00298-PPS-MGG document 110 filed 12/22/17 page 1 of 1


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

JOHN DOE,                                       )
                                                )
                        Plaintiff,              )
                                                )
         v.                                     )       CASE NO. 3:17-cv-00298
                                                )
UNIVERSITY OF NOTRE DAME,                       )
                                                )
                        Defendant.              )

                                     STIPULATION OF DISMISSAL

         Plaintiff John Doe and Defendant University of Notre Dame du Lac, by their respective

counsel and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the

dismissal of this case in its entirety, with prejudice, with the parties to bear their own fees and costs.

In addition, the parties stipulate and jointly request that the Court vacate its May 8, 2017 Amended

Preliminary Injunction Opinion and Order (entered as Dkts. 45 and 47) in the entirety. The parties

have submitted a form of order for these purposes.

Dated: December 22, 2017


 /s/Patricia Hamill                                       /s/ Damon R. Leichty
Patricia M. Hamill                                       Damon R. Leichty
Andrew S. Gallinaro                                      Eileen S. Pruitt
CONRAD O’BRIEN PC                                        BARNES & THORNBURG LLP
Centre Square, West Tower                                700 1st Source Bank Center
1500 Market Street, Suite 3900                           100 North Michigan Street
Philadelphia, PA 19102-2100                              South Bend, IN 46601
Telephone (215) 864-8071                                 Telephone: (574) 233-1171
phamill@conradobrien.com                                 damon.leichty@btlaw.com
agallinaro@conradobrien.com                              eileen.pruitt@btlaw.com

Attorneys for Mr. John Doe                               Attorneys for Defendant
                                                         University of Notre Dame



DMS 11180253v3
